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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
Maryland Chapter of the Sierra Club et al.
                                                        *
      Plaintiff,
                                                        *
      v.                                                                        Case No. 22-cv-2597
                                                        *
Federal Highway Administration et al.

      Defendant.                                        *

                                    MOTION FOR ADMISSION PRO HAC VICE

            I, Peter J. DeMarco                    , am a member in good standing of the bar of this

Court. I am moving the admission of Nanding Chen
                                                        Maryland Chapter of the Sierra Club; Friends of Moses Hall; National Trust for Historic Preservation; NRDC
to appear pro hac vice in this case as counsel for                                                                                                                   .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission                        U.S. Court & Date of Admission
               District of Columbia, 04/29/2021                     U.S. Court of Appeals, DC Circuit, 07/27/2022

               New York, 01/27/2022




            3. During the twelve months immediately preceding this motion, the proposed admittee
               has been admitted pro hac vice in this Court _______
                                                            0       time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.

            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

            9. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                      PROPOSED ADMITTEE
                                                            signed by Peter J. DeMarco with permission from
 /s/                                                        Nanding Chen
Signature                                                   Signature
Peter J. DeMarco (D. Md. Bar No. 19639)                     Nanding Chen
Printed name and bar number                                 Printed name
Natural Resources Defense Council, Inc.                     Natural Resources Defense Council, Inc.
Office name                                                 Office name

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